              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
             CRIMINAL CASE NO. 2:13-cr-00016-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
      vs.                       )               ORDER
                                )
(2) DAVID FRANK CRISP;          )
(4) MITCHELL ALLEN JENKINS; and )
(5) ROBERT WILLIE BUMGARNER, )
                                )
                   Defendants.  )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 158].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

158] is GRANTED, and the Bill of Indictment in this case is hereby

DISMISSED WITHOUT PREJUDICE as it relates to Defendants David

Frank Crisp, Mitchell Allen Jenkins, and Robert Willie Bumgarner.

     IT IS SO ORDERED.




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